 Case 2:03-cr-00350-RFB-PAL             Document 1351      Filed 07/10/08      Page 1 of 1



 1
 2
 3
 4
 5
 6                                 UNITED STATES DISTRICT COURT
 7                                         DISTRICT OF NEVADA
 8                                                *****
 9   UNITED STATES OF AMERICA,                      )
                                                    ) 2:03-cr-00350-LRH (LRL)
10                                   Plaintiff,     ) 2:08-cv-00646-LRH
                                                    )
11   vs.                                            ) ORDER
                                                    )
12   TORRES HYMON,                                  )
                                                    )
13                                   Defendant.     )
                                                    )
14
15          Defendant having filed Motion to Vacate Pursuant to 28 U.S.C. § 2255 To Vacate, Set
16   Aside or Correct Sentence by a Person in Federal Custody (#13371) and Addendum (#1342), and
17   pursuant to Rule 5 of Section 2255 Proceedings,
18          IT IS HEREBY ORDERED that a responsive pleading shall be filed by the Government
19   within 45 days of entry of this Order. The matter will then be submitted to the Court for
20   decision.
21          IT IS SO ORDERED.
22          DATED this 10th day of July, 2008.
23
24
25
                                                         LARRY R. HICKS
26                                                       UNITED STATES DISTRICT JUDGE
27
28
            1
                Refers to court docket number.
